 

vLQo-og€@zg B&Qac\/- 01952- RSL Document 41 Filed 03/03/11 Page 1 of 2

17€086 VN\ PU€|>IJ!)I EN `|d m6LL 0781’£
pleuogow sewer -L- Jog uoggow

as old
pleuoqaw sewer

' 44<)/ f"`“'*`>

LLOZ 'puZ '~I¢UEW PSWG

alamo .lado.xd aug u! swag! MaAo:)s!q aug Bu!ugegqo log sa.lnpaoo.ld Jado.xd aug age!g!u!
||!M g,g!gu!e|d 'auug a|qen|e)\ sgg b`u!gsem wng gmog aug gua)\a.ld og saung gggu!e|d pue ua)|eg uaaq
gou aAeu sdags age!.ldo.ldde aug geug .lea|o s! gg dag:g go Ma!Aa.l gauging uodn 'guaprn_I Moge.le|oap

104 U°!l°w S!Ll MPJplIl!M 01 U°!l°w S!lll 53)|9\" PUE Pleu°Cl°W saule|" J-.l!lu!eld MON SE|NOS

SWBPUSJSC| 101 KPUJ°RV ‘)|0{18 'E ICIEH
.LHDOQ .LQ|}:L|.S|C| 'S'n SH.L :IO )IHB'|Q :O.L

 

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101 uo!30W J-}!-'lu!eld M?JP\I¥!M 01 u°!?|°W A
J\llwleld

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.Ll~.anQ .LG|U.LS|C| SE.LV.LS (H.L|Nl`\

Jad o.ld u|

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72086 VM ‘Puel)ll!)i

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G°!VNOC|QW SE|NVI`

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pleuooow Saluer ’./

 

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'Mo|aq
pags!| sa!g.led aug og ggoz ‘uo.lew go Aep pjg aug uo ‘p|euoc|ow sawer Kq ‘gual.qunr hogege|oaq
log uo!gow Me.¢pug!M og uo!gow sg!guge|d aug go Adoo goauoa pue amg e guas A||ea!uo;g:)a¢a

l geug uogBu!useM go agegs aug go sMe| aug go Mn_f.lad go Aggeuad Japun Aggg.laa an.lau l

a3!'\-|9$ :|O E.LV()|:||J.}:ES

 

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lHnOS lQlHJ.SIG SEJ.V.LS GB.L|Nn
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nose vM ‘puel>u!)l
aN 1a men ovva
crlvNoaow sawvr

 

 

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